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                    EXHIBIT 2
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                                                                                   Page 1
 1                    PAUL KEGLEVIC
 2   UNITED STATES BANKRUPTCY COURT
 3   FOR THE DISTRICT OF DELAWARE
     -----------------------------------------x
 4   In Re:
     Energy Future Holdings Corporation, et.,
 5

                          Debtors.
 6

     Chapter 11
 7   Case No. 14-10979
     Jointly Administered
 8

 9   -----------------------------------------x
10          DEPOSITION OF PAUL M. KEGLEVIC
11                 New York, New York
12                  October 3, 2014
13

14             **   CONFIDENTIAL             **
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23   Reported by:
24   KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25   JOB NO. 85349

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 1                       PAUL KEGLEVIC
 2   paragraph 7 of the proposed order, and if you
 3   can let me know when you're there?
 4       A.    I'm there.
 5       Q.    Okay.     Mr. Keglevic, paragraph 7 of
 6   the order provides that modifications of the
 7   bidding procedures may be made to "best promote
 8   the goals of the bidding process."
 9             Do you see that?
10       A.    Yes.
11       Q.    Mr. Keglevic, what are the goals that
12   are referred to here?
13       A.    I think they have been referred to
14   previously in the exhibit, but I think there are
15   primarily two goals.          One is to maximize the
16   value of the auction and the other one is to
17   effectively reduce market risk and to, you know,
18   obtain a one-way option through a stalking horse
19   bidder that provides a floor to the amount we'll
20   receive under the bidding procedures.                           Those are
21   the two primary objectives that I recall.
22       Q.    One primary objective that you just
23   mentioned was to maximize the value of the
24   auction, correct?
25       A.    Correct.

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 1                         PAUL KEGLEVIC
 2               (Recess; Time Noted:                     10:23 a.m.)
 3               (Time Noted: 10:30 a.m.)
 4   BY MR. DEVORE:
 5       Q.      Mr. Keglevic, you are the chief
 6   restructuring officer, correct?
 7       A.      Correct.
 8       Q.      Do you have that title at EFH?
 9       A.      Yes.
10       Q.      Do you have that title at EFIH?
11       A.      Yes, I believe.
12       Q.      And at TCEH?
13       A.      I believe that's correct.
14       Q.      And Mr. Keglevic, are you a board
15   member at EFH?
16       A.      No.
17       Q.      At EFIH?
18       A.      Yes.
19       Q.      At TCEH?
20       A.      Yes.
21       Q.      Mr. Keglevic, what is your role in the
22   development of the bidding procedures?
23       A.      I would say I was in a review
24   capacity.
25       Q.      Who at the Debtors approved the

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 1                      PAUL KEGLEVIC
 2   bidding procedures?
 3       A.      It probably be myself and my co-CRO,
 4   Ms. Doré.    We had input and assistance from our
 5   teams, of course, and we had board meetings
 6   where we presented the overview of the proposed
 7   bid procedures, but I don't believe we had them
 8   formally vote on it.         But they were certainly
 9   aware of the approach, and all of it was in
10   heavy reliance on our advisors, both legal and
11   financial, where we directed them to develop
12   procedures, design procedures to achieve the
13   objectives that I previously indicated, that is,
14   to maximize the value from the auction and to
15   create a one-way option or a floor, you know,
16   through the stalking horse mechanism that would
17   help mitigate potential market risk.
18       Q.      Mr. Keglevic, you started your answer
19   stating, "It probably would be myself and my
20   co-CRO, Ms. Doré."       Did you approve the bidding
21   procedures?
22       A.      I said I was -- I recommended that we
23   file them to the board.           I don't think we had an
24   official approval process.
25       Q.      Do you know who the last person was

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 1                      PAUL KEGLEVIC
 2       Q.    Are you aware that the Debtors have
 3   indicated in publicly filed pleadings that there
 4   is a risk that EFH could, quote, check the box
 5   for TCEH and/or EFIH; are you aware of that?
 6             MR. McKANE:          Objection to form.
 7       Misstates the pleading.
 8       A.    Yes, I'm aware that's an option that
 9   EFH has always had.
10       Q.    And if that option was permissible,
11   that would create co-liability for the $3
12   billion tax claim at EFIH?
13             MR. McKANE:          Calls for a legal
14       conclusion.
15       A.    I would like to see the specifics
16   before I answer that question.
17       Q.    Now, an Oncor tax-free transaction is
18   required for the tax-free spin in order to avoid
19   a $6 billion or so gain on sale tax on the T
20   side; is that right?
21             MR. McKANE:          Sorry.
22             (Record read.)
23       A.    They are not independent transactions.
24   They have to be coordinated transactions to get
25   the tax-free treatment that we sought under the

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 1                         PAUL KEGLEVIC
 2   RSA.
 3       Q.       Now, in order to have these, as you
 4   term, coordinated transactions, the Debtors
 5   believe that they would need to obtain a TCEH
 6   lender agreement; is that right?
 7       A.       We would need a plan of reorganization
 8   that contemplated all aspects of the
 9   transactions.
10       Q.       Sitting here today, is there a deal
11   with the TCEH lenders for the tax-free spin?
12       A.       No.
13       Q.       And the EFH transaction is predicated,
14   in part, on preserving that tax-free spin,
15   correct?
16                MR. McKANE:          Objection to form.
17       A.       Yes, it's -- a coordinated transaction
18   is the transaction we put forth in the RSA.
19   There could be other forms of transactions, but,
20   you know, we can't predict all that will come
21   through the auction process and how they might
22   affect others in the case.
23       Q.       Mr. Keglevic, have you given any
24   consideration of how these various issues -- the
25   tax issues, the TCH lender deal, checking the

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 1                      PAUL KEGLEVIC
 2   second set of eyes, a second-seat financial
 3   advisor to conduct the auction.
 4             Ultimately, we and they decided not to
 5   go forward with that assignment, so we never
 6   paid them anything nor did we sign a job
 7   arrangement letter.
 8       Q.    What work did they do while they were
 9   involved in the process for a few weeks?
10       A.    I'm not specifically aware.                          I know
11   they attended maybe a meeting or two with
12   potential bidders around due diligence, I think,
13   primarily, and I know they sat in a meeting that
14   I, at least, participated in for a part of the
15   time as the bidding procedures and timelines
16   were being developed.
17       Q.    Why did the Debtors seek to add Bank
18   of America Merrill Lynch as a financial advisor?
19       A.    As I said, we were considering it just
20   to determine if a second set of eyes would be
21   valuable to the process.
22       Q.    Why did you consider a second set of
23   eyes might be valuable to the process.
24       A.    We ultimately didn't.
25       Q.    Was it the Debtors or Bank of America

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 1                      PAUL KEGLEVIC
 2   Merrill Lynch that determined not to proceed
 3   with the engagement?
 4       A.      I would say it was a joint decision.
 5   I don't know who decided first, but it was not a
 6   controversial decision from either point of
 7   view.    They always knew when we were considering
 8   them that we would have to explore -- they had
 9   challenges, you know, with respect to potential
10   conflicts.    You know, they owned some of our DIP
11   facility, et cetera, and we wanted to think
12   through those conflicts, and I think they -- we
13   just jointly determined that, one, it wasn't --
14   we didn't see a particular value at the end of
15   the day in getting a second set of eyes at
16   additional cost and there were also some
17   challenges, so it was a combination of those
18   issues that we jointly agreed to move on.
19       Q.      I should have asked this question
20   before.    When was this time period in which Bank
21   of America Merrill Lynch was involved for a few
22   weeks, approximately?
23       A.      I would have guessed end of August
24   maybe or early September to just before the
25   filing of the bid motion.             That may have been

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 1                        PAUL KEGLEVIC
 2       A.     Correct.
 3       Q.     And as chief restructuring officer,
 4   you're the person responsible for making the
 5   day-to-day decisions regarding the bankruptcy
 6   and the restructuring along with your advisors,
 7   correct?
 8       A.     Yes.     Significant decisions we consult
 9   with the board on, but I think it's fair to say
10   on a lot of the day-to-day more insignificant
11   matters we make the decisions.
12       Q.     Right.       Some decisions you might have
13   to take to the board for a vote, correct?
14       A.     A vote or advisement.
15       Q.     But you're the guy in charge of the
16   bankruptcy, correct?
17              MR. McKANE:           Objection to form.
18       A.     I don't look at it that way.                         I mean,
19   Ms. Doré and I are "co's," and at the end of the
20   day, we report to our board, so I think they're
21   in charge.
22       Q.     But with respect to the bid procedure
23   motions that we're talking about today, no board
24   vote was taken at any of the Debtor entities,
25   correct?

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 2       A.     That's correct, although I would tell
 3   you there was substantial involvement and
 4   advisement before we filed.
 5       Q.     Okay.    With respect to the various
 6   boards, you have testified earlier about those
 7   boards and the independent directors, Mr. Sawyer
 8   and Mr. Kremins, correct?
 9       A.     I did.
10       Q.     Did you have any personal one-on-one
11   conversations with Mr. Sawyer regarding the bid
12   procedure motion at any time from the point that
13   the NextEra bid was withdrawn and the filing of
14   the motion?
15       A.     I made, with Ms. Doré and with our
16   counsel and advisors, several presentations to
17   the board in which Mr. Sawyer asked questions.
18   Some of them were specifically of me.                         But
19   outside of the board meetings, I did not have
20   any specific discussions with Mr. Sawyer.
21       Q.     Okay.    You testified that at some
22   point during the process the company decided
23   that it would no longer limit the marketing to a
24   transaction that would result in a tax re-spin
25   and a double deconsolidation; do you recall

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 2              MR. McKANE:           We could.           I think
 3       there's been a request for certain NDAs and
 4       I think we're going through that process,
 5       but there are also other ways to provide
 6       that information without divulging the
 7       identity of the bidders if you wanted to go
 8       through alternative means.
 9   BY MR. STOLL:
10       Q.     So let's look at the first primary
11   objective of the company in filing the motion,
12   which is to limit the exposure to the risk that
13   the market shifts and the Debtors are no longer
14   able to find an investor at the current
15   indicative prices.         Do you see that?
16       A.     Yes.
17       Q.     What does the motion mean by the "risk
18   that the market shifts"?
19       A.     Obviously, markets can go up and they
20   can go down.    One of the things that we like
21   about the stalking horse process is we can lock
22   in a floor and protect us against markets going
23   down but leave open fiduciary out to take
24   advantage of markets that rise.
25              We see that, you know, the markets are

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 2   and the debt markets that you were -- that the
 3   company was referring to?
 4       A.     As I said, we relied heavily on Mr.
 5   Hiltz, so it would be interesting to see -- you
 6   know, I didn't specifically ask him in his mind
 7   what else.   I had specifically spoken to him
 8   about the ones we have talked about.                          He might
 9   have some other indices or things in mind with
10   those words.    I did not write the words.
11       Q.     Okay.    The motion refers to the risk
12   that the market shifts.            What is meant by the
13   market shifting?
14       A.     I think meaning the market going
15   lower.
16       Q.     And what is the risk of the market
17   going lower, as you understand it?
18       A.     I think simply meant here is it could,
19   if the market goes downward, it could reduce our
20   ability to maximize the auction, maximize the
21   proceeds from the auction.
22       Q.     Have you asked anyone to quantify what
23   the expected risk is of the market for either
24   regulated utilities or debt financing to move in
25   a direction that would negatively impact the

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 2   value of the Oncor assets?
 3               MR. McKANE:         Objection to form.
 4               Go ahead.
 5       A.      I have not specifically asked for
 6   that, but a one-way option and a floor
 7   eliminates that risk.           And that's what we're
 8   trying to do, and I should bring -- I think I
 9   mentioned it before, but also, as I think of the
10   market, I mentioned in my prior testimony that
11   we know we have willing buyers today.                          That
12   could be a market shift too.                 There might not be
13   willing buyers in -- pick your period of time in
14   the future.
15       Q.      Have you evaluated or asked anyone to
16   evaluate the possibility that Oncor will be more
17   valuable a year from now than it is today based
18   on Oncor's own operational aspects?
19       A.      I think our process allows us to take
20   advantage, given the fiduciary out, of a market
21   going up.    And the process is intended to
22   eliminate the risk of it going down.                          So I
23   didn't feel a need to make any determination as
24   to how high the market might go, as long as I
25   had the opportunity to capture it and the

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 2   opportunity to lock in, as I said, what are much
 3   closer to highs than to lows that we have seen
 4   in this business.
 5       Q.     Okay.    So, just so I understand it,
 6   there has been no evaluation, written report by
 7   Evercore or anyone else that tries to project or
 8   estimate the risk of the market negatively
 9   shifting as that term is used in paragraph 2 of
10   the motion?
11       A.     That's correct.
12       Q.     Now, what asset does the company think
13   it is selling, or at least having bid procedures
14   put in place for the possibility of selling,
15   pursuant to the motion?
16       A.     I believe the words we said "any or
17   all."
18       Q.     And what are those assets?
19       A.     They are assets that are from EFH down
20   all the way through the ringfence, and
21   obviously, one of the largest assets on that
22   side of the company is the 80 percent stock
23   ownership in Oncor.
24       Q.     Aside from -- and we'll get to that a
25   second -- the 80 percent stock ownership in

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 2   attached as one of the exhibits Exhibit --
 3       A.     Exhibit C?
 4              MR. McKANE:           Are you looking for the
 5       illustrative term sheet?
 6              MR. STOLL:          Right.
 7              THE WITNESS:           I might have actually
 8       found something first.
 9              MR. McKANE:           28-87-4.
10              THE WITNESS:           It's page 2 of 13?
11              MR. McKANE:           Yes, 2 of 13.
12              THE WITNESS:           I would just like that
13       on the record that I found it first.
14   BY MR. STOLL:
15       Q.     There you go.
16              So, as part of the bid procedure
17   motion, as part of the bid procedure motion,
18   what is attached as Exhibit C is the preferred
19   structure that the Debtor would hope to achieve,
20   fair?
21       A.     Yes.     I think if you read this, it
22   says this is an illustrative -- you know, for
23   illustrative purposes only, but we have not
24   shifted our views.         We have not yet been
25   convinced that a taxable transaction is better

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 2   for the estates, each of which, by the way,
 3   EFIH, EFH and TCEH, who have unsecured
 4   creditors, than a tax-free transaction.
 5              But this is a procedural motion and
 6   we'll get an opportunity when we get those bids
 7   and before one is picked, I'm sure, to argue
 8   that point, if needed, in front of the Court.
 9       Q.     And we talked about this already this
10   morning, that the earlier teaser materials that
11   were sent out specifically informed bidders that
12   the -- originally, that the bids must be
13   structured in a way that achieves the tax-free
14   transaction?
15              MR. McKANE:          Objection to form.
16       Q.     Fair?
17              MR. McKANE:          Misstates prior
18       testimony.
19       A.     The initial teasers did indicate only
20   a tax-free transaction.
21       Q.     Was the document that is attached as
22   Exhibit C to the bidding procedures motion ever
23   delivered to bidders prior to the filing of the
24   motion?
25              MR. McKANE:          Just for the record, when

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 2       A.     That's correct.
 3       Q.     And it's Oncor Electric Delivery
 4   Holdings Company that owns the membership
 5   interests or stock, whichever way you want to
 6   refer to it, of Oncor Electric Delivery LLC,
 7   correct?
 8       A.     That's correct.
 9       Q.     And that is the operating company,
10   correct?
11       A.     That is the operating company.
12       Q.     Is it your understanding that EFH has
13   the ability to sell the assets of Oncor Electric
14   Delivery LLC outside of a plan of reorganization
15   that is confirmed by the Court?
16              MR. McKANE:          Objection.            Calls for a
17       legal conclusion.
18       A.     The assets that we're referring to
19   selling would be the stock, not the assets in
20   the ringfencing.
21       Q.     Right.       Do you think -- is it your
22   understanding that EFH has the ability, the
23   right to sell Oncor Electric Delivery Holding
24   Company LLC's ownership interest in Oncor
25   Delivery -- Electric Delivery Company outside of

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 2   treatment, fair?
 3       A.     Whether it's best chance or not, we
 4   believe that transaction would meet the criteria
 5   with all the qualifications associated with
 6   getting private letter rulings, et cetera.
 7       Q.     Right.       There's lots of conditions
 8   that have to happen?
 9       A.     Lots of conditions.
10       Q.     Right.       Has the Debtor evaluated a
11   direct purchase by a bidder of the EFIH
12   membership interests to determine whether that
13   transaction would achieve the same tax treatment
14   that the Debtor believes could be achieved by
15   selling the EFH restructured equity?
16              MR. McKANE:          Can you read that back?
17              MR. STOLL:         Let me just strike it.
18              MR. McKANE:          Do you want to do it
19       again?
20              MR. STOLL:         Yes, let me try again.
21   BY MR. STOLL:
22       Q.     We've talked about the Debtors'
23   evaluation of the transactional structure that's
24   embodied in the term sheet, right?                      Correct?
25       A.     Correct.

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 2       Q.     And that's been going on now basically
 3   for a year, correct, give or take?
 4       A.     Yes.
 5       Q.     Has the Debtor evaluated any other
 6   transactional structures short of the one that
 7   is embodied in the term sheet that would achieve
 8   what it believes is the same tax treatment or
 9   tax result as the preferred structure?
10       A.     No, I don't think we did.                       I think,
11   you know, and I'm using that structure as a --
12   there can still be some variances in the family
13   of those structures in terms of, depending how
14   big your bid is, how much stock and how much
15   debt, but in terms of that structure, we have
16   not found another way in our work that would
17   achieve a tax-free outcome.
18       Q.     And is it your expectation that in the
19   timeframe set forth in the bid procedures, that
20   the Debtor could thoroughly evaluate a different
21   transaction and reach a conclusion as to its tax
22   structure viability?
23       A.     I think the work we've put in
24   positions us to do just that.
25       Q.     Because you'll have, under the bid

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 2       A.     I'm not sure yet.
 3              MR. McKANE:          That's yet to be
 4       determined.
 5       Q.     Okay.    What's the cost?                  This one-way
 6   option is not going to be free, is it?
 7       A.     Well, there's always a chance we can
 8   get a bidder to go for a zero, but I -- I would
 9   think it's likely we're going to have a cost of
10   a fiduciary out.
11       Q.     As chief financial officer, do you
12   have a view as to the range that the cost of
13   this one-way option is likely to cost it?
14              MR. McKANE:          Objection.            Calls for
15       speculation.
16       A.     Yeah, obviously it doesn't -- it
17   doesn't matter what range I think it is.                          It
18   matters what I can negotiate with the other
19   party.
20       Q.     I understand that, but has anyone
21   given you any analysis, any indication, orally
22   or in writing, as to what the appropriate range
23   for a debtor-in-possession to spend in order to
24   achieve what you have characterized as a one-way
25   option?

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 2       A.     Yes, and obviously we'll evaluate the
 3   cost versus the benefit once we see how big the
 4   bid is too, right?        But the, generally speaking,
 5   the numbers that, you know, at least in our
 6   negotiations and that we think are, you know,
 7   market-based are probably in the range of 3
 8   percent of the consideration.
 9              So, generally speaking, when I say
10   consideration, this is important to point out,
11   it's around the -- in the NextEra bid, that was
12   around $4 billion.        It's not the $18 billion
13   enterprise value or -- you know, you have to
14   subtract out all the debt to get to what they're
15   really coming up with, the piece of cash and
16   piece of common stock.
17              So we kind of think, if that's the
18   consideration range, that's a reasonable range
19   of a one-way out, that math would be around $120
20   million.   So we hope to do better than that, but
21   we think that's not an unreasonable amount if
22   the bid tops the NextEra bid.
23       Q.     Have you seen any analysis or any
24   studies that suggest to you that the market
25   shift that you have previously testified to is

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 2   likely in the next year and a half to equal or
 3   exceed $120 million impact on the value
 4   available to EFH from the transaction you're
 5   currently contemplating?
 6       A.     No, but I'm sensitive that on an $18
 7   billion enterprise, that's less than 1 percent
 8   of a total market shift, which means a small
 9   shift can quickly eat up $120 million, but
10   beyond that, we have not done the calculation.
11              I would also tell you, during the
12   process, as we were having discussions with
13   NextEra, there was a decline in their stock that
14   they used to roll back how much they were
15   willing to pay, and their stock almost went down
16   7, 8, 9 percent in a matter of days.
17       Q.     Suggesting that perhaps the market
18   shift that you are concerned about may have
19   already taken place?
20       A.     No, it's come mostly back, but the
21   market is volatile.         So, you know, it's the
22   latest volatility we have seen and, you know,
23   all the other things that could happen that say,
24   like you said, we want to evaluate can we get a
25   reasonably priced one-way option for the -- it's

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 2   an insurance policy.            Is the cost of the
 3   insurance policy worth, you know, the bid that
 4   we have, and we'll make that determination when
 5   we get the stalking horse bid.                     But we believe
 6   having procedures that allow for the ability to
 7   search and study that topic is the right way to
 8   go.
 9         Q.     To focus back on the necessity for
10   pursuing a transaction and Court approval for
11   bidding procedures now as opposed to some point
12   in the future when -- let me strike all that.
13                Do you, as the CFO and co-chief
14   restructuring officer, have a current vision as
15   to what an appropriate plan of reorganization
16   would look like for the E side of the house?
17                MR. McKANE:          Objection to form.
18         A.     I think it's difficult to come to that
19   determination just looking at the E side of the
20   house given the T side's indications to me
21   personally and in front of the Court that there
22   potentially are claims or other matters that
23   could, you know, cause them to want to reach
24   into that value.
25                So the concept here, and it's another

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 2       baton.
 3              (Recess; Time Noted:                  1:32 p.m.)
 4              (Time Noted:          1:41 p.m.)
 5   EXAMINATION BY
 6   MR. SHORE:
 7       Q.     Good afternoon, Mr. Keglevic.                         I'm
 8   Chris Shore from White & Case on behalf of the
 9   Ad Hoc Group of TCH Unsecured Notes.
10       A.     Good afternoon.
11       Q.     I'm going to ask you some very basic
12   questions that didn't get asked yet.                          First,
13   would you consider the sale of all of the assets
14   of EFH and EFIH to be in the ordinary course of
15   the business of either of those Debtors?
16              MR. McKANE:          Objection.            Calls for a
17       legal conclusion.
18       A.     I don't know what the definition of
19   "ordinary course" is.
20       Q.     Have you ever done it before in your
21   experience --
22       A.     No.
23       Q.     -- as the CFO?
24       A.     I have not.
25       Q.     Would you consider, just have you

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 2   ever, as CFO, or while you have been CFO, have
 3   any of the Debtors ever gone out to market and
 4   told the market that you have put all of the
 5   assets of any particular company on the block?
 6       A.     No, sir.
 7       Q.     And have you ever gone out and told
 8   the market that you're going to go sell all the
 9   assets pursuant to a set of procedures that
10   you're telling to the market?
11       A.     Have not.
12       Q.     Okay.     Would you agree with me that
13   the sale of all, or substantially all, of the
14   assets of EFH and EFIH require expertise?
15       A.     Yes.
16       Q.     Would you agree it requires utility
17   expertise?
18       A.     Yes.
19       Q.     Would you agree it requires M&A
20   expertise?
21       A.     Yes.
22       Q.     Bankruptcy expertise?
23       A.     Yes.
24       Q.     Marketing expertise?
25       A.     I would probably consider that in the

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 2   lot shorter if you just tell me who at Evercore,
 3   who at K&E, who at employed by any Debtor?
 4       A.      Well, there were several names at
 5   Evercore.    I mean, it's David Ying, primarily.
 6       Q.      David Ying was involved.
 7       A.      Hiltz became involved at another
 8   point.
 9       Q.      Hang on.        I'm going to break this down
10   very tiny.
11       A.      Yes.     Yes.
12       Q.      The decision to sell, you said --
13       A.      The initial decision.
14       Q.      Right.      The initial decision to sell
15   was made by a team, as I understood it, and then
16   brought to a board or boards for review, right?
17       A.      Yes.
18       Q.      Okay.     Who was part of that initial
19   decision team?
20       A.      What I would say our normal
21   restructuring team internally:                     Carla Howard,
22   Tony Horton, myself, Stacey Doré, probably Andy
23   Wright, who is the assistant general counsel on
24   her team.
25       Q.      Okay.

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 2       A.     The Kirkland team -- would you like
 3   names?
 4              Sassower.         Hessler.           I think Rick
 5   Cieri was involved then.              He has since made a
 6   decision to retire.          I don't think they're
 7   related.   Husnick.        There may be a few more on
 8   that side and Ying obviously had some support on
 9   his side of the house.
10       Q.     And but we're clear that it was Mr.
11   Hiltz involved in the decision to sell?
12       A.     Probably on the initial decision to
13   sell, Hiltz was not yet involved.
14       Q.     Was there anybody else who brought to
15   bear any of that expertise you said was
16   necessary to make a determination to sell?
17       A.     No, other than the individual board
18   members who participated in the process.
19       Q.     All right.          So let's go there.                  So the
20   team that -- let's talk about this.                        I'll define
21   it as the decision team.              Okay?
22              The decision team, they brought that
23   to a board or boards, right?
24       A.     Yes.
25       Q.     Okay.     And when did they do that?

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 2       Q.     But other than those, with that
 3   additional one, those are the only ones that
 4   even met to discuss whether or not bidding
 5   procedures in the sale of E side assets is
 6   appropriate?
 7       A.     That's correct.
 8       Q.     All right.         And when you say the
 9   Debtors and debtors-in-possession, you
10   understand --
11              MR. McKANE:          Hold on.          Do you want to
12       go off the record for a second?
13              (Discussion off the record.)
14   BY MR. SHORE:
15       Q.     All right.         Did any of the boards
16   delegate to either the decision team or the
17   process team, as we've defined them, the
18   responsibility for pursuing the bidding
19   procedures motion?
20              MR. McKANE:          Objection to form.                  Calls
21       for a legal conclusion.
22       Q.     In other words, what do you understand
23   your authority to be with this?
24              MR. McKANE:          Same objection.
25       A.     We brought every relevant

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 2   consideration and the final timeline and the
 3   substance of the motion to the board before we
 4   filed it.
 5       Q.        Okay.    You understand there are risks
 6   in any marketing process?
 7       A.        Sure.
 8       Q.        So, for example, you understand, for
 9   example, it's important to make every statement
10   you make to the market as accurate as possible,
11   right?
12                 MR. McKANE:          Objection.            Form.
13       A.        I'm sure that would be your objective,
14   yes.
15       Q.        Right, because you understand that if
16   the market understands you're not providing them
17   with accurate information, it creates an
18   overhang on the price they're willing to trade,
19   right?
20       A.        It could.        It depends on the
21   information and the significance of it to their
22   bid.
23       Q.        Right.       And if it's really significant
24   information and you get it wrong, that could
25   have a depressive effect on the price that

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 2   person you primarily relied upon for M&A and
 3   marketing experience?
 4       A.      Yes.
 5       Q.      What effort did you or are you aware
 6   anybody at the Debtors making to understand Mr.
 7   Hiltz's expertise in the area of marketing and
 8   selling power assets?
 9       A.      When Evercore suggested he came on the
10   team, I think it was either Roger Altman or
11   David Ying or both gave me a summary of his
12   background, and I think my recollection was we
13   shared that with our board.
14       Q.      Okay.     And are you aware of whether he
15   has any expertise in buying or selling power
16   assets?
17       A.      I believe he's had some in buying and
18   selling power assets, but he's also supplemented
19   by Mr. Ying, who is a power expert.                         So,
20   together, I think they have the right skills.                               I
21   think most of the M&A that Mr. Hiltz has done
22   probably in fairness of dollars is not in our
23   sector, but Mr. Ying we thought made up for
24   that.    That's why we supplemented him and didn't
25   eliminate Mr. Ying from the process.

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 2       Q.     Well, that's what I don't understand.
 3   Are they up for auction or not?                   I'm not asking
 4   you whether you're going to accept the bid; I'm
 5   just asking whether they're in the auction?
 6       A.     No, they're not in the auction.
 7       Q.     And what about the next line item,
 8   which is line item 35 on page 14 of 305.                          Other
 9   personal property, $144 million, is that up for
10   auction?
11       A.     I'm sorry, I can't find it on that
12   next page.
13       Q.     It's on page --
14       A.     Okay.    Here it is.
15       Q.     -- 14 of 305.
16       A.     I think those are assets primarily
17   related to TCEH employee pension plans and other
18   post-employment benefits, so the answer to those
19   would be no.
20       Q.     Okay.    And things that aren't on the
21   schedules, claims and causes of action that EFH
22   might own against officers, directors,
23   shareholders, are those up for auction?
24       A.     No.
25       Q.     Okay.    So am I correct to say, if you

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 2   go back to the beginning of Exhibit 3, that
 3   there are certain -- certain bids, right?                             There
 4   are certain assets?
 5       A.      That are not for sale.
 6       Q.      That are not for sale?
 7       A.      I would agree with that.
 8       Q.      And have you told anybody in the
 9   market that certain assets aren't for sale?
10       A.      Everybody that we've gone through in
11   due diligence, we walked them through the
12   schedule and talked to them about our plan and
13   what we believe the disposition of those assets
14   will be.
15       Q.      Okay.     And you understood that these
16   buyers were told these particular assets weren't
17   for sale?
18       A.      Yes.
19       Q.      Even though the motion says that they
20   are for sale?
21       A.      I think they rely more on what we tell
22   them than what the motion said.
23       Q.      Right.      So have you kept any record of
24   everything you've been telling your potential
25   bidders about what is and is not for sale and

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 2   market evidence about the reasonableness of that
 3   month.
 4       Q.     But, but you will agree with me that
 5   the -- well, first of all, have you had any
 6   discussion or do you have any belief that you're
 7   going to be able to get somebody to -- to take a
 8   put option from the company at any price at any
 9   cost?
10              MR. McKANE:          Objection.
11       Q.     So let's talk about what the option is
12   just so we're clear on the record, right.                           You
13   have got post-reorg. equity that you want to
14   the, because of market volatility, be able to
15   put to somebody at a specific price?
16       A.     Right.
17       Q.     At the closing date, right?
18       A.     That's correct.
19       Q.     All right.         And you recognize that
20   your ability to put at that price is only as
21   strong as your ability to force them to take the
22   equity at that time, right?
23              MR. McKANE:          Objection to form.
24       Overbroad and calls for speculation.
25       A.     Yeah, I mean, they're committed to

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 2                 Do you have an understanding as to
 3   whether you will be able to get somebody else to
 4   take the risk if you can't get a plan confirmed?
 5                 MR. McKANE:         Can you just read that
 6         back?    I'm not certain you said what you
 7         meant to say.
 8         A.      Yeah, I would ask that you rephrase.
 9   I want to make sure I answer it correctly.
10         Q.      Sure.    Sure.       Again, we got to get to
11   what the terms are of this option and allocating
12   risks, right?
13                 So the idea is what you want is the
14   ability to put the post-reorg. equity to
15   somebody at a later date, right?
16         A.      Right.
17         Q.      Regardless of what the actual value is
18   of the Oncor stake at that time, right?
19         A.      Correct.
20         Q.      And you want the ability to walk for a
21   2 to 3 percent amount, at the most, if the value
22   has gone up and somebody else is willing to do
23   it?
24         A.      That's correct.
25         Q.      Okay.    And on the other side, you want

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 2   somebody to put in a deposit of a not
 3   insignificant sum, right?
 4       A.     Right.
 5       Q.     Tie up their M&A ability for the next
 6   18 months, right?        Because they're going to have
 7   to have commitments to you to take down the
 8   post-reorg. equity in 18 months, right?
 9              MR. McKANE:          Object to form.                Calls
10       for speculation.
11       A.     Right.
12       Q.     And if the price has plummeted, you
13   want to be able to force them to take the equity
14   even if that causes them to lose billions of
15   dollars?
16       A.     That's correct.
17       Q.     Right?       Because in the end, what you
18   are doing is you are shifting all the risk of
19   loss on the Oncor investment to the prospective
20   purchaser for the next 18 months?
21              MR. McKANE:          Objection to form.
22       Calls --
23       Q.     Right?
24              MR. McKANE:          It calls for a legal
25       conclusion.

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 2   of a $40 billion company, that you have at least
 3   a working view as to how option pricing works?
 4       A.     Yes.
 5       Q.     Good.     Now, with respect to option
 6   pricing, when things that all of the -- and I
 7   think you said this before, just to make
 8   clear -- all of those things that affect option
 9   pricing play off each other, right?
10       A.     Yes.
11       Q.     Right.       So that, for example, when the
12   duration goes out, the price might have to come
13   down, right?
14              MR. McKANE:           Objection to form.                  Calls
15       for speculation.
16       A.     Depends, right.
17       Q.     Right.       It could.             So one of the
18   things that could happen here is, as you ask
19   people to write these options and take on a put
20   obligation in the future that puts their entire
21   balance sheet on the line for a transaction that
22   can't close for 18 months, one thing, one thing
23   that might happen is that the price they're
24   willing to pay, the strike price, is going to be
25   depressed?

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 2               MR. McKANE:          Objection.            It's an
 3       incomplete hypothetical.
 4       A.      I was going to say there's many things
 5   that can happen.
 6       Q.      Right.
 7       A.      I will accept that could be one of
 8   them, but your characterization that they're
 9   entire balance sheet on hold isn't true for many
10   of the strategics we're dealing with.
11       Q.      No, I'm saying they're putting their
12   entire balance sheet on the line.                      Let me give
13   you an example?
14       A.      They're not putting their entire
15   balance sheet on the line.
16       Q.      Let's be clear.             Let's be clear.               You
17   have, under the terms as I have read them, you
18   have promised to sell them the EFH equity.                            All
19   right?    If in fact, just so I understand how
20   this option works, if in fact you get to the
21   closing and you've done a plan here and
22   everything's done except Oncor, Oncor is now
23   worth $500 million, is that an "out" of this
24   option?
25       A.      No.

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 2       A.        As part of the optimum procedures,
 3   yes.    I mean, that's what was in the number, but
 4   that's what's in the filing, but that's to be
 5   negotiated.
 6       Q.        All right.         So let me just ask you as
 7   a CFO and an option, if I told you that the
 8   chance of getting to the plan by 12/31/15 was
 9   zero, how would that affect your willingness to
10   tie up your capital for 12 months?
11                 MR. McKANE:          Objection.
12       A.        It would be something I would have to
13   consider.
14       Q.        Right.       Can you think of any
15   circumstance in which you would commit your
16   capital where you would have to pay on the
17   option if the possibility you were going to be
18   able to take the asset was zero?
19       A.        Well, it's a hypothetical that how do
20   we know it's zero?
21       Q.        Right, and you can't -- I can't tell
22   you whether it's zero.              Mr. Qureshi can't tell
23   you whether it's a hundred.                     Nobody at this
24   table can tell you what the likelihood is that
25   we're going to get the plan confirmation by

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 2   12/31/15, right?
 3       A.        Correct.       I think the buyer's going to
 4   have to make his own determination of what that
 5   risk is.
 6       Q.        Right.       And one of the things we
 7   talked about, just to bring this around, if they
 8   form a view as to the likelihood the plan is
 9   going to get done is 10 percent, that's going to
10   affect the other things in the option.                            It could
11   affect the cost, it could affect the price,
12   right?
13       A.        It could.        The preliminary bids have
14   not indicated that's the case.                      I mean, it's
15   hard to say that we're getting bids that are at
16   close to market highs and that these potential
17   risks have been weighing on the value of that
18   bid.
19       Q.        Have you told people that you get a
20   walk right and that if this plan doesn't get
21   confirmed by 12/31/15 you walk away for no cost?
22       A.        Well, it's in these procedures; I
23   think that's what it indicates.
24       Q.        Where does it in the procedures
25   indicate that the Debtors bear no responsibility

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 2               (Record read.)
 3               MR. SHORE:        I think I'll rephrase
 4       that.
 5   BY MR. SHORE:
 6       Q.      Is there any reason you're out seeking
 7   this put, which is essentially what it is, other
 8   than your concern with respect to the volatility
 9   of the asset?
10       A.      Yes, that there are willing buyers
11   today, so even if the asset isn't volatile, who
12   knows that there could not be buyers, for
13   whatever reason, even at the same value.
14       Q.      Does it matter whether you have 100
15   buyers at one price or 3 buyers at one price?
16       A.      I, my assumption, we could end up with
17   zero buyers at this price.
18       Q.      Right, which means the value has
19   fallen because you can't get a willing buyer to
20   take the asset?
21       A.      Not necessarily.             It could be buyer
22   strategies have changed; it could be something
23   that happened at their companies that reduced
24   their financial wherewithal.
25       Q.      All right.        So buyer identity, right?

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 2       A.      Right.
 3       Q.      Identity and strategy?
 4       A.      Right.
 5       Q.      And market?
 6       A.      And included in market, debt markets.
 7       Q.      Okay.    So market would be interest
 8   rates?
 9       A.      I didn't say interest rates.
10       Q.      Okay.
11       A.      But --
12       Q.      Well, that's the debt, right?
13       A.      You make it to debt.                 It's twofold.
14   If I can finish, I was going to say availability
15   of debt and at what price.
16       Q.      Okay.
17       A.      And then, obviously, the value of
18   Oncor itself is another capital market risk.
19   Those are the three I believe I have testified
20   to today.
21       Q.      Okay.    Value of Oncor in the market.
22               Okay.    Who did you rely upon or who on
23   either the decision team or the process team did
24   you rely upon to provide you advice with respect
25   to whether or not there are going to be buyers

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 2       A.     It's sporadic, as needed.                      It's really
 3   being driven by Evercore and their
 4   professionals, and we don't -- we don't have any
 5   people per se dedicated to the process.
 6       Q.     This market risk, which is, you know,
 7   the possibility that either bidders won't show
 8   up or there will be a change in market such that
 9   the price gets depressed, what alternatives did
10   you look at besides running this process and
11   going out and buying this kind of option?
12       A.     I specifically did not look at
13   alternative processes.           We asked Mr. Hiltz what
14   he thought the best way to achieve the
15   objectives, and this is the process he came back
16   to me with.
17       Q.     Well, let's be clear about what you
18   asked him.    Did you ask him what's the best way
19   to go out and buy this option, or did you ask
20   him what's the best way to mitigate against the
21   risk that Oncor falls or the bidders dry up?
22              MR. McKANE:          Hold on a second.                 Which
23       question do you want him to answer?                          That's
24       three questions.
25              MR. SHORE:         Objection to form.

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 2                 I got it.
 3   BY MR. SHORE:
 4       Q.        I'll break it into pieces.                         What
 5   exactly do you remember asking Mr. Hiltz?
 6       A.        We asked him to design a process that
 7   would achieve the two objectives that we've
 8   talked a lot about today.
 9       Q.        Which were what?
10       A.        That to give us a floor or a one-way
11   option to reduce market risk and to maximize the
12   value to the estate of the auction.
13       Q.        Okay.    So it was always premised on
14   we're going to sell the asset, right; the EFH
15   reorganized equity, we're going to sell it now,
16   and that's the way you're going to mitigate the
17   risk that the -- that equity won't be worth as
18   much at a later date, your price will be --
19       A.        I think that's fair, with the
20   understanding that is this a good time to sell?
21   Yes.    And if we sell now, what's the best way to
22   structure the process to meet these objectives?
23       Q.        Okay.    Other than this, you know,
24   going out and buying an option to put
25   reorganized equity 18 months out, did you

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 2   it in; if not, have a process that allows me to
 3   capture it.
 4       Q.     What analysis have you done besides
 5   looking at the multiples to tell you you're
 6   selling at the best price now as opposed to a
 7   good price?
 8       A.     That some of these were at all-time
 9   high and they have exceeded the averages over
10   the last reasonable period of time.
11       Q.     Okay.     But did you do any -- I said
12   what analysis have you done.                  Is there an
13   analysis there?
14       A.     You mean did I write it down and put
15   it on a piece of paper?
16       Q.     Yes.
17       A.     I did not.
18       Q.     My son sold GoPro the other day, to
19   his horror, because it was at an all-time high
20   and it's gone up 30 bucks since then, and he's
21   learning now about the analysis of whether it's
22   at a high price means the best price.
23              Is there anything, any document at all
24   you can point to -- a valuation, analyst report
25   or anything else -- that says this is the right

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 2   time to sell?
 3       A.      No, other than the information that I
 4   have said and the consultation I've had with
 5   them, and before we lock in a stalking horse, we
 6   will have additional information to make that
 7   decision.
 8       Q.      Is there any reason why you wouldn't
 9   have instructed the people who were talking to
10   bidders to take notes of what they're saying to
11   the bidders?
12       A.      It didn't occur to me and I would
13   imagine that my -- I don't -- I'm not familiar
14   with a situation where that kind of level of
15   detail is done in connection with a typical bid
16   process.
17       Q.      Right.      Well, you've never been
18   involved in an auction, right?
19       A.      I've not as a CFO, but I was an
20   auditor of companies that were going through
21   mergers and acquisitions and I saw their
22   documentation.
23       Q.      All right.        So you got some questions
24   about conflicts before.            Can you say whether you
25   did anything at all during the process we

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